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 1 HARDER LLP
     CHARLES J. HARDER (CA Bar No. 184593)
 2
     RYAN J. STONEROCK (CA Bar No. 247132)
 3   132 S. Rodeo Drive, Fourth Floor
     Beverly Hills, California 90212
 4
     Telephone: (424) 203-1600
 5   Facsimile: (424) 203-1601
 6
     Email:      CHarder@HarderLLP.com
     Email:      RStonerock@HarderLLP.com
 7
 8
     Attorneys for Defendant
     DONALD J. TRUMP
 9
10                         UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12
     STEPHANIE CLIFFORD a.k.a.                 Case No. 2:18-CV-02217
13 STORMY DANIELS a.k.a. PEGGY
                                               [Removal from Superior Court of
14 PETERSON, an individual,                    California, County of Los Angeles,
15                                             Case No. BC696568]
                  Plaintiff,
16                                             JOINDER OF DEFENDANT
            v.                                 DONALD J. TRUMP
17
                                               IN NOTICE OF REMOVAL OF
18 DONALD J. TRUMP a.k.a. DAVID                ACTION BY DEFENDANT
   DENNISON, an individual,                    ESSENTIAL CONSULTANTS, LLC
19
   ESSENTIAL CONSULTANTS, LLC, a
20 Delaware Limited Liability Company,         Action Filed: March 6, 2018
   and DOES 1 through 10, inclusive,
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22                Defendants.
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                        JOINDER IN NOTICE OF REMOVAL OF ACTION
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 1         Defendant Donald J. Trump hereby joins in defendant Essential Consultants,
 2 LLC’s (“EC”) Notice of Removal to this Court of the state court action described in
 3 said Notice of Removal. Mr. Trump is, and at the time of the Complaint being filed
 4 and all intervening times was, a resident of the District of Columbia, and is a
 5 permanent resident, citizen and domiciliary of the State of New York. Mr. Trump is
 6 not now, and was not at the time of the Complaint being filed or during any
 7 intervening times, a citizen of the State of California or a citizen of the State of Texas.
 8         This action arises out of allegations made by Plaintiff Clifford, an adult-film
 9 actress and exotic dancer, against EC and Mr. Trump, and a written settlement
10 agreement related thereto that contains a broad arbitration provision (the “Arbitration
11 Agreement”). Mr. Trump intends to join in EC’s anticipated Petition to Compel
12 Arbitration under the Arbitration Agreement.
13         Mr. Trump intends to pursue his rights to the fullest extent permitted by law.
14         Mr. Trump has not been served with the summons or complaint in this action.
15
16    Dated: March 16, 2018               HARDER LLP
17
                                          By: /s/ Charles J. Harder
18                                            CHARLES J. HARDER
19                                           Attorneys for Defendant
                                             DONALD J. TRUMP
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                        JOINDER IN NOTICE OF REMOVAL OF ACTION
